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Clerk

 

CHRISTINE CONFORTI,

Plaintiff
vs.

CHRISTINE GIORDANO HANLON, in her
official capacity as Monmouth County Clerk,
SCOTT M. COLABELLA, in his official
capacity as Ocean County Clerk, and
PAULA SOLLAMI COVELLO, in her official
capacity as Mercer County Clerk,

Defendants.

 

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW
JERSEY

Civil Action No.: 3:20-cv-08267-
FLW-TIJB

Civil Action

NOTICE OF APPEARANCE

 

PLEASE TAKE NOTICE that John C. Sahradnik, Esq. and Christopher A. Khatami,

Esq., of the law firm of Berry, Sahradnik, Kotzas & Benson hereby enter their appearances

as counsel for Defendant Scott M. Colabella in his official capacity as Ocean County Clerk

in the above-captioned matter.

BERRY SAHRADNIK KOTZAS & BENSON

JOH C. SAHRADNIK, ESQ. (001811976)

DATED: October 6, 2020 CHRISTOPHER A. KHATAMI, ESQ. (043472013)
